    Case 16-01114     Doc 18     Filed 07/06/18 Entered 07/06/18 22:55:56            Desc Main
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                                  United States Bankruptcy Court
                             Eastern Division, District Of Massachusetts
     In	re	                                       	
                       	                          Docket	No.:	15-13369	
                Andre	Bisasor,	                 	
                       	                          Chapter	13	
                                     Debtor	
     David	G.	Baker,		                            	
                                    Plaintiff,	   ADVERSARY	PROCEEDING	
                         v.	                    	
     Andre	Bisasor,	                              No.		 16-01114	 	      	
                                  Defendant	
	
                                         STATUS REPORT

        NOW COMES David G. Baker, plaintiff in the above captioned matter, and for a status
report as ordered by the court (document #12), states that after a period of time without progress,
the parties are once again negotiating as to the terms of a settlement agreement, and request an
additional thirty days to either file an agreement for the court’s approval or a request for a
Scheduling Order.

     July 6, 2018
                                                 Respectfully submitted,

                                                 /s/       David G. Baker
                                                 David G. Baker, Esq. (BBO # 634889)
                                                 236 Huntington Avenue, Ste. 317
                                                 Boston, MA 02115
                                                 617-340-3680

                                      Certificate of Service

       The undersigned states upon information and belief that the within Status Report will be
served on the persons named below by the Court’s CM/ECF system on the date set forth above.

                                                     /s/ David G. Baker
                                                     David G. Baker, Esq.

Dmitry Lev on behalf of Debtor Andre Bisasor - dlev@levlaw.net, ecf-
notices@levlaw.net
